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                  EXHIBIT A




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

AARON GEORGE GUZMAN                              §
& DANIEL W. JOHNSON                              §
                                                 §
               Plaintiffs,                       §
                                                 §
v.                                               §   Civil Action No. 1:15-CV-01061-ML
                                                 §
TECHERTAIN, LLC D/B/A ONBUZZ,                    §
ALAN ELIAS, & DAVID VAN GORDER                   §
                                                 §
               Defendants.                       §

                    ORDER GRANTING PLAINTIFF DANIEL JOHNSON'S
                      MOTION TO DISMISS WITHOUT PREJUDICE

       On this day come to be heard Plaintiff Daniel Johnson's Motion to Dismiss Claims Without

Prejudice (the "Motion"). Having reviewed the Motion, and noting that the same is agreed-upon

by the parties, the Court finds that the Motion should be GRANTED. It is therefore

       ORDERED that the Motion is GRANTED, and that Plaintiff Daniel Johnson's claims that

were asserted or that could have been asserted in this action are hereby dismissed without prejudice

to refiling same.


SO ORDERED this _ _ day of _ _ _ _, 2018.


                                                     PRESIDING JUDGE




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